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                    UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF MICHIGAN




THE SHANE GROUP, INC. ET AL.,
                                           Civil Action No. 2:10-cv-14360

    Plaintiffs, on behalf of themselves
    and all others similarly situated,
                  vs.
                                           Chief Judge Denise Page Hood
BLUE CROSS BLUE SHIELD OF
MICHIGAN,

    Defendant.




             ORDER GRANTING PRELIMINARY APPROVAL
                TO PROPOSED CLASS SETTLEMENT

      The Plaintiffs in the above-captioned matter have filed a Motion for entry

of an Order determining certain matters in connection with the proposed

Settlement of this class action, pursuant to the terms of the Amended Settlement

Agreement reached by the parties and presented to the Court for approval

(hereinafter, the “Amended Agreement”). After consideration of the Amended

Agreement and the exhibits annexed thereto, and after due deliberation and

consideration of the totality of the circumstances and the record, and for good

cause shown, it is hereby

      ORDERED, ADJUDGED, and DECREED as follows:
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      1.      Defined Terms: This Court adopts the defined terms set forth in

Section A (Definitions) of the Settlement Agreement for purposes of this Order,

unless otherwise specified herein.

      2.     Additional Named Plaintiffs: Pursuant to Federal Rule of Civil

Procedure 21, Patrice Noah and Susan Baynard are hereby joined as additional

named plaintiffs and class representatives. Hereinafter, references to “Plaintiffs”

include Patrice Noah and Susan Baynard.

      3.     Preliminary Approval of Settlement: The terms of the Amended

Agreement, including the Plan of Allocation attached thereto as Exhibit F, are

preliminarily approved, subject to further consideration at the Fairness Hearing

provided for below.      The Court concludes that the proposed Settlement is

sufficiently within the range of reasonableness to warrant the scheduling of the

Fairness Hearing, and the circulation of the Notice to the Settlement Class, each

as provided for in this Order.

      4.     Certification for Settlement Purposes: For purposes of Settlement

only, pursuant to Federal Rule of Civil Procedure 23, the Settlement Class is

certified as follows:

             All Direct Purchasers of healthcare services from a
             Michigan General Acute Care Hospital from January 1,
             2006 until June 23, 2014. Excluded from the Settlement
             Class are all Released Persons. For purposes of this
             class definition, “Direct Purchasers” includes without


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             limitation individuals who paid Michigan General Acute
             Hospitals in the form of co-pays, co-insurance or
             otherwise; insurers that paid Michigan General Acute
             Care Hospitals for their insureds; and self-insured
             entities whose health plan participants received
             healthcare services at Michigan General Acute Care
             Hospitals.

      The Michigan Regional Council of Carpenters Employee Benefits Fund,

The Shane Group, Inc., Bradley A. Veneberg, Abatement Workers National

Health and Welfare Fund, Monroe Plumbers & Pipefitter Local 671 Welfare

Fund, Scott Steele, Patrice Noah and Susan Baynard are appointed as

representatives of the Settlement Class defined above, and The Miller Law Firm,

P.C., Cohen Millstein Sellers & Toll PLLC, Gustafson Gluek PLLC, and Wolf,

Haldenstein, Adler, Freeman & Herz LLC are appointed as Class Counsel. This

certification of the Settlement Class and the appointment of class representatives

and Class Counsel are solely for purposes of effectuating the proposed Settlement.

If the Amended Agreement is rescinded or does not receive Final Approval for

any reason, the foregoing certification of the Settlement Class and appointment of

the class representatives shall be void and of no further effect, and the parties to

the proposed Settlement shall be returned to the status each occupied before entry

of this Order, without prejudice to any legal argument that any of the parties to the

Amended Agreement might have asserted but for the Amended Agreement.




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      Based on the Court’s review of the Motion and supporting materials, the

Court finds that the proposed Settlement Class satisfies Rule 23 of the Federal

Rules of Civil Procedure in that:

                    a.     The Settlement Class, which consists of millions of

      individuals and entities, is so numerous that joinder of all persons who fall

      within the Settlement Class definition is impracticable;

                    b.     The commonality requirement is satisfied where

      members of the Settlement Class share at least one common legal or factual

      issue. Here, there are questions of law and fact common to the Settlement

      Class, including questions relating to Blue Cross Blue Shield of Michigan’s

      (“BCBSM”) use of Most Favored Nation Clauses;

             c.     The claims of the class representatives are typical of the claims

of the Settlement Class; and

             d.     The class representatives and Class Counsel will fairly and

adequately protect the interests of the Settlement Class.

      The Court further finds that the proposed Settlement Class satisfies Rule

23(b)(3) of the Federal Rules of Civil Procedure, which requires that common

issues predominate and that a class action be superior to other available methods

for the fair and efficient resolution of this controversy. The Court notes that

because the litigation is being settled, rather than litigated, it need not consider the



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manageability issues that would be presented by this litigation. Amchem Prods.

Inc. v. Windsor, 117 S. Ct. 2231, 2240 (1997).

         5.    Fairness Hearing: A Fairness Hearing shall take place before the

undersigned, the Honorable Denise Page Hood, at 2:00 p.m., on

NOVEMBER 8, 2018 to determine:

               a.   whether the proposed Settlement, on the terms and conditions

provided for in the Amended Agreement, should be finally approved by the Court

as fair, reasonable, and adequate;

               b.   whether this Action and all claims asserted therein should be

dismissed on the merits and with prejudice;

               c.   whether the application for attorneys’ fees, expenses and

plaintiff incentive awards filed by Class Counsel should be approved; and

               d.   such other matters as the Court may deem necessary or

appropriate.

The Fairness Hearing may be continued without further notice to the Settlement

Class.

         6.    Approval with Modifications: The Court may finally approve the

proposed Amended Agreement at or after the Fairness Hearing with any

modifications agreed to by BCBSM and the class representatives and without

further notice to the Settlement Class.



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      7.     Right to Appear and Object: Any Settlement Class Member who

has not timely and properly requested exclusion from the proposed Settlement in

the manner set forth below may appear at the Fairness Hearing in person or by

counsel and be heard, to the extent allowed by the Court, either in support of or in

opposition to the matter to be considered at the hearing, provided, however, that

no Settlement Class Member who has requested exclusion from the Settlement

shall be entitled to object; and provided further that no person shall be heard, and

no papers, briefs, or other submissions shall be considered by the Court in

connection with its consideration of those matters, unless such person complies

with the following:

             a.       Any objection must be submitted in writing and must be

filed with the Court no later than 152 days after Preliminary Approval.

             b.       Settlement Class Members may object either on their own or

through an attorney hired at their own expense. If a Settlement Class Member

hires an attorney to represent him or her at the Fairness Hearing, he or she must

do so at his or her own expense. No Settlement Class Member represented by an

attorney shall be deemed to have objected to the Settlement Agreement unless an

objection signed by the Settlement Class Member is also served as provided

herein.

             c.       Any objection regarding or related to the Amended Agreement



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or Settlement: (1) shall identify itself as an objection to the Settlement and/or

Class Counsel’s application for attorneys’ fees, expenses and plaintiff incentive

awards; (2) shall contain information sufficient to identify the objecting

Settlement Class Member, including the objecting Settlement Class Member’s

name, address, and telephone number, and the contact information for any

attorney retained by the Settlement Class Member in connection with the

objection; and (3) shall contain a statement of whether the objecting Settlement

Class Member intends to appear, either in person or through counsel, at the

Fairness Hearing.

             d.     Any Settlement Class Member who objects to the Settlement

shall still be entitled to submit a Claim Form in accordance with this Order and

the Claim Form instructions.

             e.     No objection filed with respect to the original settlement in

this case will be considered for the current Settlement. Any Settlement Class

Member who wishes to object to the current Settlement must file an objection in

accordance with this Paragraph 7, whether or not the Settlement Class Member

objected to the original settlement.

      8.     Notice: The forms of Notice attached to the Settlement Agreement

as Exhibits B (Postcard Notice), C (Publication Notice) and D (Long Form

Notice) are hereby approved. The Notice Plan described in Exhibit A to the



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Settlement Agreement is hereby approved and shall be implemented according to

its terms. The Long Form Notice, Publication Notice and Postcard Notice shall be

disseminated in accordance with the Notice Plan substantially in the form

approved. Plaintiffs shall cause the Settlement Administrator to send the Postcard

Notice by first-class mail, postmarked no later than 40 days after entry of this

Order, to the Settlement Class Members who can be identified from the names

and addresses produced to Plaintiffs by BCBSM, Priority Health and Aetna Inc.

Plaintiffs shall cause all forms of publication notice provided for in the Notice

Plan to be completed no later than 107 days after entry of this Order. Plaintiffs

shall cause the Settlement Administrator to activate the Settlement website and

the mailing address, email address and toll free number by which Settlement Class

Members can communicate with the Settlement Administrator no later than the

date Notice is first mailed or published.

      The Court finds that the form and method of providing notice described in

the Notice Plan is the best practicable under the circumstances and, if carried out,

shall constitute due and sufficient notice of the Amended Agreement under

Federal Rule of Civil Procedure 23 and the Due Process Clause of the United

States Constitution.

      9.     Settlement Administrator: The Court approves the retention of

Epiq Class Action & Mass Tort Solutions, Inc. to administer the Amended



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Agreement pursuant to its terms under the supervision of Class Counsel.

       10.      Escrow Agent: The Court approves of Eagle Bank, a Maryland

State Chartered Bank, as the Escrow Agent to maintain the Escrow Account in

which the Settlement Fund shall be held and to disburse funds from the Escrow

Account in accordance with the orders of this Court.            No money shall be

disbursed from the Escrow Account except as provided by an order of this Court.



       11.      Ability of Settlement Class Members to Request Exclusion: All

Settlement Class Members who wish to exclude themselves from the Settlement

must do so by sending a written request for exclusion to the Settlement

Administrator by first-class mail as provided in the Notice, signed by the

Settlement Class Member. To be considered timely, and thereby exclude a person

from the Settlement, the envelope delivering a request for exclusion must be

postmarked no later 152 days after Preliminary Approval. Plaintiffs shall attach

to their motion for final approval a final list of all requests for exclusion,

identifying any requests that Plaintiffs believe not to be valid and the basis for

their belief.

       No request for exclusion from the original settlement in this case will have

any effect as to the current Settlement. Any Settlement Class Member who

wishes to be excluded from the current Settlement must submit a request for



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exclusion in accordance with this Paragraph 11, whether or not the Settlement

Class Member requested exclusion from the earlier settlement. Conversely, any

Settlement Class Member who did not request exclusion from the original

settlement may, at the Settlement Class Member’s election, request exclusion

from the current Settlement.

      Any Settlement Class Member who does not properly and timely request

exclusion from the Settlement shall be included in such Settlement and, if the

proposed Settlement receives Final Approval, shall be bound by all the terms and

provisions of the Amended Agreement, including but not limited to the releases

and waivers described therein, whether or not such person has objected to the

Settlement or submitted a Claim Form.

      12.   Claim Forms:          The Claim Forms, attached to the Amended

Agreement as Exhibits E-1 and E-2, are hereby approved. Plaintiffs shall cause

the Settlement Administrator to disseminate the Claim Forms substantially in the

form of Exhibits E-1 and E-2 to the Amended Agreement. Specifically, Plaintiffs

shall cause the Settlement Administrator to post the Claim Forms on the

Settlement website no later than the date the Notice is first mailed or published,

and, upon request of a Settlement Class Member made to the Settlement

Administrator on or before 200 days after the entry of this Order, to promptly

send a Claim Form to the class member by first-class mail or email. To be



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considered timely and valid, a Claim Form must be completed in accordance with

its instructions and either submitted online via the settlement website or sent to

the Settlement Administrator by first-class mail, electronically submitted or

postmarked no later than 200 days after the entry of this Order.

      All claim forms submitted in connection with the original settlement will be

treated as timely Claim Forms for the current Settlement. No Settlement Class

Member who submitted a claim form for the original settlement is required to

submit another Claim Form for the current Settlement.

      13.     CAFA Notice: BCBSM has filed with the Court and served a

certificate stating its compliance with the requirements of the Class Action

Fairness Act, 28 U.S.C. § 1715.

      14.     Attorneys’ Fees, Expenses, Incentive Awards: Class Counsel shall

file with the Court and serve their application for attorneys’ fees, reimbursement

of expenses and plaintiff incentive awards no later than 30 days after the entry of

this Order.

      15.     Notice Declaration: No later than 122 days after the entry of this

Order, Plaintiffs shall file with the Court and serve a declaration of the person(s)

under whose general direction the Notice was disseminated showing that the

Notice Plan was effectuated according to its terms and this Order.




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      16.    Final Approval Motion: Plaintiffs shall file with the Court and

serve their motion for final approval of the Settlement within 182 days after the

entry of this Order.

      17.    Appearance by Settlement Class Member: Any Settlement Class

Member may enter an appearance in this litigation, at his, her or its own expense,

pro se or through counsel of his, her or its own choice. Any Settlement Class

Member who does not enter an appearance will be represented by Class Counsel.

      18.    Settlement Administration Expenses:          After BCBSM deposits

$1,219,038 of the Settlement Amount into the Escrow Account in accordance

with Paragraph 35 of the Amended Agreement, Class Counsel are authorized to

disburse such funds to pay the following costs of administering the Settlement, as

they are incurred: Taxes, Tax Expenses, charges of Eagle Bank, charges of the

Settlement Administrator, and the cost of implementing the Notice Plan.

      19.    Discovery and Other Litigation Activity: All discovery and other

litigation activity in this Action is hereby stayed pending a decision on Final

Approval of the Settlement Agreement.

      20.    No Admission:       Neither the Settlement nor the Settlement

Agreement shall constitute an admission, concession, or indication of the validity

of any claims or defenses in the Action, or of any wrongdoing, liability or




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violation by BCBSM, which vigorously denies all of the claims and allegations

raised in the Action.

      Accordingly,

      IT IS ORDERED that the Motion for Order for Preliminary Approval of

Settlement (Doc. No. 269) is GRANTED.


                              S/Denise Page Hood
                              Denise Page Hood
                              Chief Judge, United States District Court

      Dated: April 17, 2018

      I hereby certify that a copy of the foregoing document was served upon
counsel of record on April 17, 2018, by electronic and/or ordinary mail.

                              S/LaShawn R. Saulsberry
                              Case Manager




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